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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

Cynthia Brown,                                       Case No.

          Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                     UNDER THE FAIR DEBT COLLECTION
v.                                                      PRACTICES ACT AND OTHER
                                                            EQUITABLE RELIEF
Assurity Asset Management, LLC,

          Defendant.                                  JURY DEMAND ENDORSED HEREIN

                                    JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

      Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

      giving rise to this claim occurred in this judicial district.

                                  FACTS COMMON TO ALL COUNTS

2. Defendant is a “debt collector” as defined by 15 U.S.C. §1692a(6).

3. As described below, Defendant attempted to collect from Plaintiff a “debt” as defined by 15

      U.S.C. §1692a(5).

4. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

5. On or around August 12, 2010, Defendant’s employee (“Brown”) telephoned Plaintiff’s

      cellular phone and spoke to Plaintiff’s daughter (“Tiffany”) who answered the phone.

6. During this communication, Defendant asked for Plaintiff and Tiffany replied that Plaintiff

      was unavailable.

7. During this communication, Defendant then asked Tiffany to give Plaintiff a message that

      Plaintiff needed to contact Defendant about a debt that she owed.

8. Defendant violated the FDCPA.




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                                            COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

9. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

10. Defendant violated 15 U.S.C. §1692c(b) by communicating with a third party in connection

    with the collection of the debt without Plaintiff’s consent.

                                          JURY DEMAND

11. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

12. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.
                                                Attorneys for Plaintiff

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